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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
  IN RE:    STW Resources Holding Corp.                                             CASE NO    16-33121-bjh-11

                                                                                   CHAPTER     11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 8/2/2016                                            Signature    /s/ Alan Murphy
                                                                     Alan Murphy
                                                                     Chief Executive Officer


Date                                                     Signature
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                         Hidden Hills, CA 91302


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